        IN THE UNITED STATES DISTRICT COURT
    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                CHARLOTTE DIVISION

Scott E. Dimmick and             :
Jodie C. Dimmick,                :
                                 :
               Plaintiffs,       :
                                 :
     vs.                         :     No. 3:21-cv-00459-FDW-DCK
                                 :
Partners Insurance Agency, Inc., :
Emerson L. Dimmick, and          :
Karen A. Dimmick,                :
                                 :
               Defendants.       :


                               ORDER

     AND NOW, upon consideration the Motion of Plaintiffs/

Counterclaim Defendants Scott E. Dimmick and Jodie C.

Dimmick for Judgment on the Pleadings as to All

Counterclaims Pursuant to Federal Rule of Civil Procedure

12(c) and any response thereto, it is ORDERED that Defendants’

Counterclaim I (alleging breach of “Compensation Agreement”) and

Counterclaim II (alleging breach of “Profit Agreement”) are

DISMISSED WITH PREJUDICE.




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                                    BY THE COURT:


                                    ____________________________
                                    Frank D. Whitney
                                    United States District Judge




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